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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

    NETLIST, INC.,                                    §
                                                      §
                 Plaintiff,                           §
                                                      §
    v.                                                §    CASE NO. 2:21-CV-00463-JRG
                                                      §
    SAMSUNG ELECTRONICS CO., LTD.,                    §
    SAMSUNG ELECTRONICS AMERICA,                      §
    INC., SAMSUNG SEMICONDUCTOR,                      §
    INC.,                                             §
                                                      §
                 Defendants.                          §

                                         FINAL JUDGMENT

         A jury trial commenced in the above-captioned case on April 14, 2023, and on April 21,

2023, the jury reached and returned its unanimous verdict finding that Defendants Samsung

Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung Semiconductor, Inc.

(together, “Samsung”) infringed at least one asserted claim of each of the presented groups of

Asserted Patents;1 that such infringement was willful; that none of the asserted claims were invalid;

and that Plaintiff Netlist, Inc. (“Netlist”) is owed a composite reasonable royalty of

$303,150,000.00 for Samsung’s infringement as to all Asserted Patents. (Dkt. No. 479.)

         The Court conducted a separate bench trial on May 30, 2023 regarding Samsung’s defenses

of prosecution laches, equitable estoppel, and unclean hands. On August 11, 2023, the Court

issued Findings of Fact and Conclusion of Law, wherein the Court held that Samsung had not

proven any of its equitable defenses, those being 1) the ’918 and ’054 Patents were unenforceable

due to prosecution laches, 2) Netlist is equitably estopped from asserting the ’918 and ’054 Patents,



1
  The Asserted Patents are U.S. Patent Nos. 10,949,339 (the “’339 Patent”), 11,016,918 (the “’918 Patent”),
11,232,054 (the “’054 Patent”), 8,787,060 (the “’060 Patent”), and 9,318,160 (the “’160 Patent”).
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and Netlist’s unclean hands bar its ’339, ’918, and ’054 Patent infringement claims. (Dkt. No.

550.)

        Pursuant to Rule 58 of the Federal Rules of Civil Procedure, and in accordance with the

jury’s unanimous verdict and the entirety of the record, the Court hereby ORDERS and ENTERS

JUDGMENT as follows:

             1. Samsung has infringed at least one claim among claims 1, 8 and 9 of the ’339

                 Patent;

             2. Samsung has infringed at least one claim among claims 1, 5, 13, 16, 18, and 19 of

                 the ’918 Patent and claims 16 and 17 of the ’054 Patent;

             3. Samsung has infringed at least one claim among claims 1, 5, and 7 of the ’060

                 Patent and claim 5 of the ’160 Patent;

             4. None of the asserted claims is invalid;

             5. Samsung’s infringement was willful;

             6. Netlist is hereby awarded damages from and against Samsung and shall accordingly

                 have and recover from Samsung the sum of $33,150,000.00 U.S. Dollars as a

                 reasonable royalty for Samsung’s infringement of the ’339 Patent from December

                 20, 2021 through March 2023;

             7. Netlist is hereby awarded damages from and against Samsung and shall accordingly

                 have and recover from Samsung the sum of $147,225,000.00 U.S. Dollars as a

                 reasonable royalty for Samsung’s infringement of the ’918 and ’054 Patents from

                 December 12, 2021 through March 2023;2




2
  The Court granted Judgment as a Matter of Law of no damages prior to the issue date of January 25, 2022 for the
’054 Patent. (Dkt. No. 494 at 1266.)

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             8. Netlist is hereby awarded damages from and against Samsung and shall accordingly

                  have and recover from Samsung the sum of $122,775,000.00 U.S. Dollars as a

                  reasonable royalty for Samsung’s infringement of the ’060 and ’160 Patents from

                  May 3, 2022 through March 2023;

             9. Notwithstanding the jury’s finding of willfulness, the Court having considered the

                  totality of the circumstances together with the material benefit of having presided

                  throughout the jury trial and bench trial and having seen the same evidence and

                  heard the same arguments as the jury, and mindful that enhancement is generally

                  reserved for “egregious cases of culpable behavior,”3 concludes that enhancement

                  of the compensatory award herein is not warranted under 35 U.S.C. § 284 and

                  consequently, the Court elects not to enhance the damages awarded herein;

             10. Pursuant to 35 U.S.C. § 284 and Supreme Court guidance that “prejudgment

                  interest shall ordinarily be awarded absent some justification for withholding such

                  an award,”4 the Court awards pre-judgment interest applicable to all sums awarded

                  herein, calculated at the 5-year U.S. Treasury Bill rate, compounded quarterly, from

                  the date of infringement through the date of entry of this Judgment;5

             11. Pursuant to 28 U.S.C. § 1961, the Court awards post-judgment interest applicable

                  to all sums awarded herein, at the statutory rate, from the date of entry of this

                  Judgment until paid; and




3
  Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 106 (2016).
4
  General Motors Corp. v. Devex Corp., 461 U.S. 648, 657 (1983).
5
  See Nickson Indus., Inc. v. Rol Mfg. Co., Ltd., 847 F.2d 795, 800–801 (Fed. Cir. 1988).

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           12. Pursuant to Federal Rule of Civil Procedure 54(d), Local Rule CV-54, and 28

               U.S.C. § 1920, Netlist is the prevailing party in this case and shall recover its costs

               from Samsung. Netlist is directed to file its proposed Bill of Costs.

        All other requests for relief now pending and requested by either party but not specifically

addressed herein are DENIED.

        So ORDERED and SIGNED this 11th day of August, 2023.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE




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